Case 23-10766-pmm          Doc 66    Filed 02/14/24 Entered 02/14/24 16:07:25             Desc Main
                                    Document      Page 1 of 2



                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE:                                                :
         Thomas C. Baker                              :       Chapter 13
                                                      :       Case No.: 23-10766-PMM
                               Debtor.                :

               AMENDED ORDER GRANTING DEBTOR’S MOTION FOR
                    AUTHORITY TO SELL REAL PROPERTY

        AND NOW, upon consideration of the Motion for Authority to Sell Real Property filed
by the debtor, upon notice to all interested parties, upon the filing, and any response thereto, and
after a hearing before the Court and for good cause shown, it is hereby

       ORDERED, that the debtor is granted permission to sell their real property located at
2525 S Broad Street, Philadelphia, PA 19148 (“Property”), for the sale price of $450,000.00
pursuant to the terms of a certain real estate agreement of sale dated as of January 9, 2024, to the
buyer thereunder, Rebekah J. Sweeney (“Buyer”).

       The proceeds of the sale, including any funds held as a deposit made by or on behalf of
the Buyer, shall be distributed in the approximate following manner:

         1.    Ordinary and reasonable settlement costs, including,
               but not limited to those related to notary services, deed
               preparation, disbursements, express shipping, surveys,
               municipal certifications, or any other such routine matters           $ 14,500.00
         2.    Liens paid at closing-                                                $ 336,337.95
         3.    Real estate taxes, sewer, trash and/or other such items               $
         4.    Property repairs, if any                                              $
         5.    Real estate commission, at no greater than 6%                         $
         6.    Attorney’s fees, if any                                               $
         7.    Any small (less than $300) allowances agreed to be made
               to Buyer to settle any unforeseen dispute arising at
               settlement                                                            $
         8.    Other - Seller Assist                                                 $
         9.    Kenneth E. West – Chapter 13 Trustee                                  $ 99,162.05
               ESTIMATED AMT DUE TO SELLER(S)                                        $
Case 23-10766-pmm         Doc 66     Filed 02/14/24 Entered 02/14/24 16:07:25             Desc Main
                                    Document      Page 2 of 2



        This Order is contingent upon the mortgage lien(s) held by WSFS, or its assigns being
paid in full at closing pursuant to a proper payoff quote obtained prior to and good through the
closing date; or any short payoff shall be approved by WSFS; and Debtor shall have thirty (30)
days from entry of this Order to close on the Property.

         All City of Philadelphia and Water Revenue Bureau liens that must be satisfied to give
clear title to the Buyer shall be paid at closing.

        Kenneth West Distribution Explanation: The approximately $99,162.05 payment to
the trustee is the balance due to pay off the Debtor’s plan and 100% distribution to the Debtor’s
unsecured creditors. Any excess funds held by the Trustee after final distribution to creditors
shall be returned to the Debtor. In the event that the case is dismissed, either voluntarily or by the
Trustee, then all funds not distributed by the Trustee shall be returned to the Debtor.

        Wilmington Savings Fund Society, FSB (Proofs of Claim #20-1; 21-1) shall file amended
proofs of claims upon receiving sale proceeds in satisfaction of their secured claims and
interests.

        The title clerk shall email a completed HUD-1 or settlement sheet from the closing
directly to the trustee immediately upon the close of the settlement to
settlementsheet@ph13trustee.com, and the trustee shall promptly notify the title company of his
approval or objections to the sums to be disbursed.

         Per Bankruptcy Rule 6004(h), the 14-day stay as to effect of this Order is hereby waived.




Dated:
                                               HONORABLE PATRICIA M MAYER
                                               U.S. BANKRUPTCY JUDGE
